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                         UNITED STATES DISTRICT COURT

                                   DISTRICT OF MAINE


UNITED STATES OF AMERICA                    )
                                            )
                                            )
                                            )
v.                                          )              CRIMINAL NO. 04-57-P-H
                                            )
LEROY MOSLEY,                               )
                                            )
                      DEFENDANT             )


         ORDER ON DEFENDANT’S MOTION TO REDUCE SENTENCE


       The defendant has asked for the appointment of counsel on a form prepared

by this District’s Federal Defender’s office in connection with processing cases

under the retroactive cocaine base (crack) Guideline amendment. Because the

retroactive Guideline cannot help this defendant, however, I deny the motion.

       The defendant pleaded Guilty to the charge of conspiracy to distribute and

possess with intent to distribute 50 grams or more of cocaine base. I sentenced

the defendant on June 2, 2005. Because he had three previous convictions for

crimes of violence, I found him to be a career offender under Guideline § 4B1.1,

with a Guideline range of 262 to 327 months. Drug quantity did not affect

determination of that Guideline range.1

       The defendant’s sentence was not based on Guideline calculations of the

quantity of crack/cocaine base, but upon the fact that he was a career offender.


1 Except in the sense that the quantity charged in the Indictment affected the maximum authorized

sentence under 21 U.S.C. § 841(a)(1)(A). Because the maximum sentence was life, the base offense
(continued on next page)
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The relevance of the 50 grams of crack/cocaine base was to make him subject to a

maximum term of life imprisonment under the statute. 21 U.S.C. § 841(b)(1)(A).

That is what drove the Guideline range, not the Guideline calculation for crack

cocaine. Applying the new, more lenient crack/cocaine base Guideline simply

would not affect Mosley’s sentence.

       Accordingly, the defendant’s motion, treated as a motion both to appoint

counsel and to reduce sentence under 18 U.S.C. § 3582(c), is DENIED.

       SO ORDERED.

       DATED THIS 5TH DAY OF FEBRUARY, 2008



                                           /S/D. BROCK HORNBY
                                           D. BROCK HORNBY
                                           UNITED STATES DISTRICT JUDGE




level under Guideline § 4B1.1 was 37.

                                                                              2
